                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            DOCKET NO. 3:06-CR-00151
                                                   )
 UNITED STATES OF AMERICA                          )
                                                   )
        vs.                                        )
                                                   )                   ORDER
                                                   )
 MICHAEL ATTILIO MANGARELLA                        )
                                                   )
                                                   )
                                                   )
                                                   )

       THIS MATTER is before the Court upon a letter from Defendant (Doc. No. 608) regarding

the criminal assessment and restitution imposed by the Court. The U.S. Attorney’s Response (Doc.

No. 609) was also received by the Court and considered.

       Defendant contends that he is not required to pay restitution until sixty (60) days after his

release from prison. He states that a box (Box D) was checked on the final judgment (Doc. No. 573)

that says monthly payments of fifty (50) dollars are due each month beginning sixty (60) days after

Defendant’s release. Defendant is correct; however, as Defendant concedes, another box on the

judgment (Box B) says that payments are to begin immediately. Box B also states, however, that

it is combined with the ruling in Box D. Therefore, payments must begin immediately and

Defendant must pay fifty (50) dollars per month beginning sixty (60) days after his release from

prison. See MERRIAM -WEBSTER DICTIONARY (Online Edition) (defining “combined” as “to become

one” and “to act together”).

       Furthermore, the Court’s oral sentence specified that restitution payments are to be made

subject to the Bureau of Prisons Inmate Financial Responsibility Program (“IFRP”) (See

Resentencing Hr’g Tr. 51). Defendant currently participates in this program and seventy-five (75)



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dollars have been paid in restitution from it. Defendant is not required to participate in this program

and may end his participation at any time; however, by ending his participation in the program,

Defendant may also lose corresponding benefits. Defendant may not stop making restitution

payments, yet still participate in IFRP. See 28 C.F.R. § 545.11(d).

       Therefore, Defendant’s request is DENIED. Defendant is to continue to make restitution

payments subject to IFRP and is also to make payments of fifty (50) dollars a month beginning sixty

(60) days after his release from prison.

       IT IS SO ORDERED.




                                                  Signed: March 15, 2012




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